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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                §                       MDL No. 2179
“DEEPWATER HORIZON” in the                     §
GULF OF MEXICO,                                §                       SECTION: J
on APRIL 20, 2010                              §
                                               §                    JUDGE BARBIER
        Applies to: 10-2771 and                §
        All Cases                              §                MAG. JUDGE SHUSHAN
                                               §


      BRIEF IN SUPPORT OF MOTION TO REVIEW AND OBJECTIONS TO
    MAGISTRATE'S ORDER DENYING HESI'S MOTION FOR LEAVE TO FILE A
                    SECOND AMENDED CROSS-CLAIM

        Pursuant to Federal Rule of Civil Procedure 72(a) and E.D. La. LR 72.2, Defendant

Halliburton Energy Services, Inc. ("HESI"), files this Brief in Support of Motion to Review and

Objection to Magistrate's Order Denying HESI's Motion for Leave to File Second Amended

Cross-Claim, asking this Court to reconsider Magistrate Shushan's Order Denying HESI's

Motion for Leave to File Second Amended Cross Claim (Dkt. No. 4267) and in support of the

same, respectfully shows the Court as follows:

                                          INTRODUCTION

        On October 11, 2011, Magistrate Shushan denied HESI's Motion for Leave to File

Second Amended Cross-Claim, ("HESI's Motion for Leave"). Dkt. No. 4267. As discussed in

HESI's Motion to Review,1 HESI sought leave to file a second amended cross-claim against BP

Exploration & Production, Inc. ("BP Exploration"), BP America Production Company ("BP


1
 "HESI's Motion to Review" means HESI's Motion to Review and Objection to Magistrate's Order Denying HESI's
Motion for Leave to File Second Amended Cross-Claim.

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America") and BP p.l.c. (collectively the "BP Entities" or "BP"), Dkt. No 3893, to amend its

cross-claims against BP to add two additional fraud claims based upon newly discovered

evidence.2 See id. Specifically, HESI's proposed amended cross-claim adds claims against BP

based on evidence that BP knew pre-Incident that the most shallow hydrocarbon zone (the

"Concealed Sand") in the Macondo Well's production interval was significantly higher than it

had represented to HESI both before and after the Incident.

         The parties briefed the issues related to HESI's Motion for Leave as follows:

         1.       Opposed Motion for Leave to File Second Amended Cross-Claims (Dkt. No.
                  3893) ("HESI's Motion for Leave");

         2.       BP's Opposition to HESI's Motion for Leave to File Second Amended Cross-
                  Claims (Dkt. No. 4067) ("BP's Opposition");

         3.       HESI's Reply to BP's Opposition to HESI's Motion for Leave to File Second
                  Amended Cross-Claims. (Dkt. No. 4150) ("HESI's Reply");

         4.       BP's Response to HESI's Reply in Support of Its Motion for Leave to File Second
                  Amended Cross-Claim (Dkt. No. 4187) ("BP's Response"); and

         5.       HESI's Sur-Reply to BP's Response to Halliburton's Reply in Support of its
                  Motion for Leave to File Second Amended Cross-Claim (Dkt. No. 4270) ("HESI's
                  Sur-Reply").

HESI incorporates into this memorandum its briefing in HESI's Motion for Leave, HESI's Reply,

and HESI's Sur-Reply and the exhibits referenced therein.3 Dkt. No. 3893 (with Ex. A); Dkt.

No. 4150 (with Exhs. 1-19); Dkt. No. 4270.

2
  The newly discovered evidence establishes that BP knew, pre-Incident, critical facts regarding the shallowest
hydrocarbon zone (the "Concealed Sand") in the Macondo well's production interval and yet BP failed to disclose
this information. This new evidence was discovered during day one of the deposition of Galina Skripnikova, whose
deposition was not taken until July 7, 2011, well after the deadline to file cross-claims in the Limitation Proceeding.
3
  Most of the exhibits were filed under seal by direct transmission to Magistrate Shushan's chambers. HESI files
these exhibits under seal here, as attachments to its Motion for Leave to File Exhibits Under Seal in compliance with
E.D. La. LR 5.6.

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        Pursuant to Federal Rule of Civil Procedure 9(b), HESI's proposed amended cross-claim

adds factual allegations stating, with particularity, the circumstances constituting BP's fraud. See

HESI's Motion for Leave, Ex. A at ¶¶ 61-80. These allegations detail the importance of accurate

information related to the highest hydrocarbon bearing zone in order to place the top of the

cement ("TOC") so as to comply with federal regulations and to properly cement a well. See 30

C.F.R. § 250.421.

                              ARGUMENT AND AUTHORITIES

        Pursuant to Federal Rule of Civil Procedure 72(b)(3), this Court's review of Magistrate

Shushan's Order is de novo. See Fed. R. Civ. P. 72(b)(3). Specifically, in reviewing HESI's

Motion to Review and Brief in Support, this Court "must determine de novo any part of the

magistrate judge's disposition that has been properly objected to. The district judge may accept,

reject, or modify the recommended disposition; receive further evidence; or return the matter to

the magistrate with instructions." Id.

I.      THE COURT'S APRIL 20, 2011, DEADLINE SHOULD NOT BAR THE
        ADDITION OF CLAIMS.

        This Court's Stipulated Order Governing Deadlines in Connection with Petitioners' Rule

14(c) Third-Party Complaint and Certain Bundle C Pleadings (Dkt. No. 1730) provides a May

20, 2011 deadline for filing "[a]ll Cross-claims by 14(c) Third-Party Defendants (including the

United States Government) against any other 14(c) Third Party Defendant (except for the United

States Government against which cross-claims are due on 4/20/11)." This deadline is only

applicable to the Limitation Proceeding. See Dkt. No. 1730-1. No deadline is in place for filing




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cross-claims in cases pending in the MDL. See id. Thus, at a minimum, HESI should be

allowed to file its Second Amended Cross-Claims in MDL 2179.

         Moreover, given the breadth of discovery in this proceeding, the relatively short amount

of time since the Incident and the months left before trial, allowing HESI to add these claims at

this stage in the litigation would not prejudice BP nor would it impact the February, 2012 Phase

One trial.

II.      HESI DID NOT DISCOVER THAT BP KNEW, PRE-INCIDENT, ABOUT THE
         CONCEALED SAND UNTIL GALINA SKRIPNIKOVA'S JULY 7, 2011
         DEPOSITION.

         Galina Skripnikova, a BP petrophysicist, examined the lithology and wireline data for the

Macondo Well and classified or identified the various zones in the well. See Depo. of R. Bodek

438:15-25, 439:1-5; see Exhibit 12. During Phase One discovery, BP witnesses repeatedly

deferred to Skripnikova, testifying that she "would have the proper tool to analyze the full suite

of data that was collected on the wellbore to analyze these zones" (Depo. of C. Bondurant 216:1-

18; see Exhibit 13) and that Galina Skripnikova was "responsible" for identifying the

hydrocarbon zones in the well. See Depo. of G. Vinson (6/24/11) 53:11-18; see Exhibit 14.

Thus, it is not surprising that HESI learned — for the first time — that BP knew of the existence

of a shallower hydrocarbon-bearing sand ("Concealed Sand") before HESI's cementing job, the

explosion and well blowout during Skripnikova's July 7, 2011 deposition. The identification of

the higher zone is critical to the location and placement of the TOC. BP previously represented

to HESI that the most-shallow hydrocarbon-bearing sand was significantly shallower than the

Concealed Sand, which, unbeknownst to HESI, caused the TOC to be noncompliant with MMS

regulations. BP's prior representations were key in the design of the cement job for the Macondo

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Well. Indeed, had HESI known about the Concealed Sand, HESI would not have pumped the

job unless, and until, BP made or approved changes to the cement plan or well design.

           As she conceded in her July testimony, Skripnikova sent an email to her colleagues on

April 13, 2010 discussing BP's initial assessment that the shallowest hydrocarbon-bearing sand

in the Macondo well was located deeper than the Concealed Sand.4 After sending the email,

Skripnikova returned to her land-based office and, after having several engineers look into the

issue, BP identified the Concealed Sand as probable gas. See Depo. G. Skripnikova 211:4-25,

212:1-3. See Dkt. No. 4150, Ex. 1.5 Skripnikova further testified:

                    Q:     So here's my question: When was this more data available
                    such that this analysis which caused you-all to highlight as a
                    probable hydrocarbon zone, the [Concealed Sand], when was that
                    analysis done?

                    A:      The analysis was done the day of the incident.

                    Q:      The day of the incident?

                    A:      Yes.

                    Q:      After the cement job was done, right?

                    A:      Yes.

Id. at 212:4-16; see also HESI Reply at 4-6.6 While HESI did depose other BP witnesses before

Skripnikova and queried the deponents regarding the sands in the Macondo well, those witnesses

pointed to Skripnikova as the individual with requisite and particular knowledge on the issue,

sufficient to support HESI's fraud claim against BP. See HESI Reply at 6-8.
4
    BP-HZN-MBI 00126430, previously attached as Exhibit 2, but filed under seal.
5
  HESI and BP filed exhibits under seal with their briefing to the Magistrate Shushan. Those exhibits are cited by
the same exhibit numbers used in the previously filed briefing.
6
    Testimony modified due to confidentiality concerns.

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       As Phase One discovery continued, HESI learned additional information supporting its

fraud claims against BP that initially came to light in Skripnikova's deposition. Specifically,

during the September 27, 2011 deposition of Victor Emanuel, HESI confirmed that BP had

Schlumberger logs available to it prior to the Incident showing that the Concealed Sand was

potentially hydrocarbon bearing and that it had been flagged as a "net pay sand[]." See Dkt. No.

4150, Ex. 19.

       HESI has been diligent in its discovery and analysis of the enormous amount of data

contained in the volumes of documents and depositions in this case. While BP complained to

Magistrate Shushan that documents produced prior to April 20, 2011 disclosed the existence of

the Concealed Sand, BP confuses its post-Incident knowledge with regard to the Concealed Sand

with the fact that BP knew about this shallow hydrocarbon-bearing sand before the Incident yet

failed to advise HESI so that it could incorporate this critical information into its cement

modeling. See HESI Reply at 5-6. Other pre-Incident and post-Incident communications BP

cited to Magistrate Shushan provide no support for BP's allegation that HESI knew or should

have known of BP's pre-Incident knowledge of the shallower hydrocarbon zone prior to

Skripnikova's deposition.

       None of the post-Incident documents BP cited nullifies Skripnikova's deposition

testimony that BP knew, on the very day of the Incident, that a shallower hydrocarbon-bearing

zone existed in the Macondo well. Likewise, the post-Incident documents BP cited do nothing to

alter the evidence, obtained for the first time in the Skripnikova deposition, that BP had pre-

Incident knowledge that the Concealed Sands probably contained hydrocarbons.



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       At Skripnikova's deposition, HESI obtained evidence, for the first time, that BP not only

negligently failed to identify and evaluate the sands in the Macondo well, but also had actual

knowledge of potential hydrocarbon-bearing sands significantly higher in the production interval

of the well than those disclosed during the planning of the cement job. This evidence, newly

discovered after this Court's deadline for cross-claims in the Limitation Proceeding but while

Phase One discovery was still ongoing, supports an Order from this Court granting HESI's

Motion and allowing the filing of HESI's Second Amended Cross-Claim.

III.   GRANTING HESI'S MOTION FOR LEAVE WILL NOT DELAY THE
       FEBRUARY 2012 PHASE ONE TRIAL SETTING OR REQUIRE ADDITIONAL
       PHASE ONE DISCOVERY.

       Since April 21, 2010, all parties have diligently sought discovery regarding facts that led

to the Incident and subsequent oil spill. Should this Court reverse the Magistrate Shushan's

Order, a delay of the February 2012 Phase One trial is unnecessary. Re-opening of Phase One

discovery would also be unnecessary.

       HESI's proposed amended cross-claim does not open a new line of inquiry requiring

additional discovery.    Rather, the discovery sought to investigate HESI's previously filed

negligence claims applies equally to HESI's proposed fraud claims against BP that it seeks leave

to assert. Furthermore, because so many witnesses deferred to Skripnikova during depositions

regarding questions focused on the nature of BP's pre-Incident knowledge regarding the

hydrocarbon zones in the Macondo well, it is unlikely that further deposition testimony will be

needed. It is also unlikely that further discovery will reveal direct evidence with regard to BP's

intent to defraud because such intent is generally not susceptible to direct proof. Coffel v. Stryker

Corp., 284 F.3d 625, 634 (5th Cir. 2002). Because of this impediment, HESI will more than

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likely prove BP's fraud by circumstantial evidence. Su v. M/V S. Aster, 978 F.2d 462, 472 (9th

Cir. Or. 1992); Putnam Resources v. Pateman, 958 F.2d 448, 459 (1st Cir. 1992)(citing

American Comm'n Ass'n v. Douds, 339 U.S. 382 (1950)). Accordingly, no further Phase One

discovery should be necessary for HESI to establish its amended fraud claims against BP and the

February, 2012 trial date would not be impacted if leave is granted.

IV.    LEAVE TO AMEND IS PROPER UNDER THIS COURT'S ORDERS AND THE
       FEDERAL RULES OF CIVIL PROCEDURE.

       HESI's Motion for Leave was not filed on the eve of trial or years after the facts in

question. Rather, HESI filed its motion just weeks after first learning of BP's pre-Incident

knowledge. As HESI fully briefed to Magistrate Shushan, whether under this Court's case

management orders or the Federal Rules of Civil Procedure, HESI is deserving of leave to amend

its cross-claims against BP because good cause exists.

                                        CONCLUSION

       For these reasons, HESI respectfully requests that this Court reverse Magistrate

Shushan's Order (Dkt. No. 4267), sustain HESI's objections herein, and grant HESI leave to file

its Second Amended Cross-Claims and for such other relief, general or specific, at law or in

equity, to which HESI may be properly entitled.




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                                  CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing Halliburton Energy Services, Inc.’s
Memorandum in Support of Motion to Review and Objections to Magistrate's Order was filed
electronically with the Clerk of the Court using the CM/ECF system and that notice of this filing
will be sent to all counsel through the CM/ECF system on this 25th day of October, 2011.

                                            /s/ Donald E. Godwin
                                            Donald E. Godwin




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